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                     EXHIBIT 1
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                                    1• TradeStation·

   Account Application Package



        • Individual
        • Joint
        • IRA




        ALL completed and signed pages must be returned.

        This application package covers applications for
        equities (including equity options) and futures
        (including options on futures) accounts, with
        TradeStation Securities, Inc., and cryptocurrency
        accounts with TradeStation Crypto, Inc.




Equities, equity options, and commodity futures products and services are offered by TradeStation Securities, Inc. (Member
NYSE, FINRA, CME and SIPC). Cryptocurrency and digital asset products and services are offered by TradeStation Crypto, Inc.
                                                                                                                         Rev 07272023
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1· TradeStation~           TradeStation Securities, Inc. Form CRS Relationship Summary




Introduction          TradeStation Securities, Inc. (“we”, “our” or “us”) is registered with the U.S. Securities and Exchange Commission
                      (SEC) as a broker-dealer and is a member of the Financial Industry Regulatory Authority (FINRA) and the
                      Securities Investor Protection Corporation (SIPC). Brokerage and investment advisory services and fees differ and
                      it is important for you to understand these differences.

                      Free and simple tools are available to research firms and financial professionals at https://www.investor.gov/CRS,
                      which also provides educational materials about broker-dealers, investment advisers and investing.

What investment       We provide brokerage services to retail and institutional traders and investors, including the buying and selling of
services and advice   equities, ETFs, options, mutual funds and bonds (“Securities”). We don’t offer any of our own Securities. We do
can you provide       not offer investment advice.
me?
                      We also offer the TradeStation Desktop Platform (the “Platform”) through TradeStation Technologies, Inc., our
                      affiliate. The Platform is a proprietary electronic trading platform that allows you to design, test and monitor your
                      own custom trading and investment strategies, and then automate them with electronic order placement. You
                      may also enter and monitor orders and perform some analytics via our mobile and web-based applications. We
                      offer certain free real-time market data packages provided you qualify as a non-professional subscriber. Other
                      market data packages and platform features are made available to non-professional and professional subscribers
                      at extra cost, as described at: https://www.tradestation.com/pricing/market-data-pricing.

                      TradeStation is an online broker for self-directed clients. We do not make recommendations regarding Securities,
                      investment strategies or account types. We do not provide you with investment monitoring services, nor do we
                      accept authorization from you to trade your account. You will make all decisions regarding the purchase or sale of
                      Securities in your account, therefore it is your responsibility to understand the risks associated with your
                      investment decisions. To learn more about the risks associated with trading, please visit:
                      https://www.tradestation.com/important-information.

                      For additional information about the services we provide, please visit: https://www.tradestation.com.

                      Conversation starters: Ask your financial professional…
                         •    Given my financial situation, should I choose a brokerage service? Why or why not?
                         •    How will you choose investments to recommend to me?
                         •    What is your relevant experience, including your licenses, education, and other qualifications? What do
                              these qualifications mean?

What fees will I      Commissions: Commissions are transaction-based fees charged by brokers. We offer a variety of pricing plans.
pay?                  Depending on the pricing plan chosen, you may be charged more fees when you trade more. Access to, and use of,
                      the Platform features and functions are provided to you at no additional cost on certain pricing plans. Information
                      about all available plans, including other trade and account-related costs, can be viewed at:
                      https://www.tradestation.com/pricing.

                      Interest: Margin and day trading allow you to leverage assets to increase your buying power. Margin interest rates
                      vary per the size of your debit balance. These rates may be adjusted at our discretion. For additional information
                      on margin rates, please visit: https://www.tradestation.com/pricing/margin-rates.

                      Other: Margin accounts may be subject to Short Debit Fees for the maintenance of short positions in securities.
                      Short Debit Fees may be increased from time to time in light of changing market conditions without prior notice.
                      You may incur additional fees and costs related to brokerage services and investments including, but not limited
                      to wire fees, account transfer fees, IRA account annual fees, inactivity fees and termination fees. For a full list of
                      additional fees and costs that you may incur, please visit: https://www.tradestation.com/pricing/service-fees.

                      If you custody or plan to purchase mutual funds with us, you should review the mutual fund prospectus for
                      applicable fees, such as management fees and 12b-1 fees.

                      You will pay certain fees and costs regardless of whether you make or lose money in your account. Fees and costs
                      will reduce any amount of money you make on your investments over time. We encourage you to learn about all of
                      the fees and costs associated with your account and trading activity.

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1· TradeStation~               TradeStation Securities, Inc. Form CRS Relationship Summary



.
                             Conversation starters: Ask your financial professional…
                                •    Help me understand how these fees and costs might affect my investments. If I give you $10,000 to
                                     invest, how much will go to fees and costs, and how much will be invested for me?
~


    What are your            We do not make recommendations regarding Securities, investment strategies or account types. The way we
    legal obligations to     make money may create a potential conflict with your interests. You should learn about and ask us about these
    me when providing        conflicts, because they may affect the services we provide. Here are some examples to help explain some
    recommendations?         potential conflicts.

    How else does                a.   We route certain equities and options orders to exchanges, electronic communication networks, and
    your firm make                    broker-dealers during normal business hours and during extended trading sessions. Some of these
    money and what                    market centers may provide us with payment in exchange for us sending them your orders, and might
    conflicts of                      also charge you access fees, depending upon the characteristics of the order and any subsequent
    interest do you                   execution. If you trade more frequently, the payments we receive from these venues may increase. The
    have?                             material aspects of our relationship with each such venue, including any payment for order flow
                                      arrangements, can be found in the SEC Rule 606 Report & Rule 607 Disclosure at:
                                      https://www.tradestation. com/important-information, and further details of these payments and fees
                                      are available to you upon written request.
                                 b.   In addition, if you trade using margin, that means you are borrowing money from us to conduct your
                                      equities trading. The margin interest we charge you to borrow this money is revenue to us. The more you
                                      trade using margin, the more money we may earn. Please learn about the risks of margin trading at:
                                      https://www.tradestation.com/important-information.
                                 c.   We receive a portion of the revenue generated from fully paid securities lent to other institutions.
                                 d.   Some of our registered representatives may be dually employed by us and our affiliate, TradeStation
                                      Crypto, Inc. We manage this potential conflict so that it does not affect your dealings with either
                                      company.

                             For additional information about potential conflicts of interest, please visit our Important Documents page:
                             https://www. tradestation.com/important-information.

                             Conversation starters: Ask your financial professional…
                                •    How might your conflicts of interest affect me, and how will you address them?
~


    How do your              Some of our registered representatives may be paid a base salary and a monthly bonus based on certain metrics,
    financial                such as the number of new customer accounts they open and the commissions generated by those accounts. Our
    professionals            registered representatives may also receive periodic bonuses based on a combination of job performance and our
    make money?              overall profitability as a company. Our registered representatives have an incentive to encourage you to try
                             various TradeStation products and services which may result in you choosing to trade more frequently and/or to
                             consider alternative asset classes.

    Do you or your           Yes. You may visit: https://www.investor.gov/CRS or https://brokercheck.finra.org for free and simple tools to
    financial                research us and our registered representatives.
    professionals have
    legal or
                             Conversation starters: Ask your financial professional…
    disciplinary
                                •    As a financial professional, do you have any disciplinary history? For what type of conduct?
    history?

    Additional               You can obtain additional information about us and request a copy of this relationship summary by visiting:
    Information              https://www.tradestation.com/important-information or by calling one of our specialists at 800.808.9336.

                             Conversation starters: Ask your financial professional…
                                •    Who is my primary contact person? Is he or she a representative of an investment adviser or a broker-
                                     dealer?
                                     Who can I talk to if I have concerns about how this person is treating me?
.                               •


                  Equities, equity options, and commodity futures products and services are offered by TradeStation Securities, Inc.
                                                     (Member NYSE, FINRA, CME and SIPC).

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T TradeStation®                                              TradeStation Group, Inc. Companies




TradeStation Securities, Inc. is an SEC-licensed broker dealer and a CFTC-licensed futures
commission merchant (FCM), and a member of FINRA, SIPC, CME, NFA and several equities and
futures exchanges, which offers to self-directed investors and traders Equities accounts for stocks,
exchange-traded products (such as ETFs) and equity and index options, and Futures accounts for
commodity and financial futures and futures options (TradeStation Securities does not offer Crypto
accounts).

TradeStation Crypto, Inc. is neither a securities broker dealer nor an FCM, and offers to self-directed
investors and traders cryptocurrency brokerage services under federal and state money services
business/money-transmitter and similar registrations and licenses (TradeStation Crypto is not a
member of FINRA, SIPC, CME, NFA or any equities or futures exchange, and does not offer Equities
or Futures accounts).

TradeStation Technologies, Inc. is a software development company which offers analytics
subscriptions that self-directed investors and traders can use to chart, analyze and design back-tested
strategies for Equities, Options, Futures, Forex and Crypto markets (TradeStation Technologies is not
a financial services company).

TradeStation Crypto accepts only cryptocurrency deposits, and no cash (fiat currency) deposits, for
account funding. In order for you to purchase cryptocurrencies using cash, or sell your
cryptocurrencies for cash, in a TradeStation Crypto account, you must also have qualified for, and
opened, a TradeStation Equities account with TradeStation Securities so that your cryptocurrency
purchases may be paid for with cash withdrawals from, and your cryptocurrency cash sale proceeds
may be deposited in, your TradeStation Securities Equities account. Therefore, if you want to open a
TradeStation Crypto account, you must also have an Equities account with TradeStation Securities.
This cash in your TradeStation Securities Equities account may also, of course, be used for your
equities and options trading with TradeStation Securities.

TradeStation account services, subscriptions and products are designed for speculative or active
investors and traders, or those who are interested in becoming one. No offer or solicitation to buy or
sell securities, securities derivative or futures products of any kind, cryptocurrencies or other digital
assets, or any type of trading or investment advice, recommendation or strategy, is made, given or in
any manner endorsed by any TradeStation Group company, and the information made available on or
in any TradeStation Group company website or other publication or communication is not an offer or
solicitation of any kind in any jurisdiction where such TradeStation Group company or affiliate is not
authorized to do business. Past performance, whether actual or indicated by historical tests of
strategies, is no guarantee of future performance or success. There is a possibility that you may sustain
a loss equal to or greater than your entire investment regardless of which asset class you trade
(equities, options, futures, futures options, or crypto); therefore, you should not invest or risk money
that you cannot afford to lose. System access and trade placement and execution may be delayed or
fail due to market volatility and volume, quote delays, system, platform and software errors or attacks,

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T TradeStation®                                            TradeStation Group, Inc. Companies




internet traffic, outages and other factors. The trademark “TradeStation®,” as well as other
trademarks, domain names and other proprietary intellectual property of TradeStation Group
companies, are owned by TradeStation Technologies. The proprietary TradeStation platform is
offered by TradeStation Securities for Equities (including equity options) and Futures trading.
TradeStation Crypto offers its online platform trading services, and TradeStation Securities offers
futures options online platform trading services, through unaffiliated third-party platform
applications and systems licensed to TradeStation Crypto and TradeStation Securities, respectively,
which are permitted to be offered by those TradeStation companies for use by their customers.

Please also read carefully the agreements, disclosures, disclaimers and assumptions of risk presented
to you separately by TradeStation Securities, TradeStation Crypto, and TradeStation Technologies
on the TradeStation Group company site and the separate sites, portals and account or subscription
application or sign-up processes of each of these TradeStation Group companies. They contain
important information, rights and obligations, as well as important disclaimers and limitations of
liability, and assumptions of risk, by you that will apply when you do business with these companies.




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     T TradeStation®                         11111111111111111
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Welcome.                                                                     REQUIRED FORMS

                                                                             □
                                                                             □   Account Application and Agreements,
                                                                                 Disclosures, Disclaimers and Assumption of Risks
How to Open Your                                                                 For all accounts.

TradeStation Account                                                         IDENTITY VERIFICATION FOR NON-U.S.
                                                                             RESIDENTS
                                                                             Please include when you return application package.
Please complete this application in its entirety by typing
your answers and information in the appropriate fields.                      □
                                                                             □   Copy of Passport
Please list your name exactly as it appears on your                              E.U. residents may provide a copy of a
government issued photo identification. You can save                             government issued ID in lieu of a passport.
your progress at any point. Once completed, simply print                         Address Verification Documents
                                                                             □
and sign the application before sending it to us. You will                       A document such as a recent utility bill or bank
need the latest version of the free Adobe Acrobat reader                         statement. Must be within 90 days of submission
                                                                                 date.
(https://get.adobe.com/reader/) to use the interactive
features on this form. Alternatively, you can print then
complete the entire form using blue or black ink. Please
do not use white-out.


To ensure that your account application is complete and
may be processed as soon as reasonably possible, please
make sure you’ve completed all applicable documents
and that you return this entire package, including the
pages on which you are not required to sign or provide
information.

Visit our website to view the funding instructions.

Please return your completed application and additional
documentation to TradeStation via email or regular mail:


1)   Email: newaccountservices@tradestation.com
2)   Post to the following address:
       TradeStation New Accounts
       8050 SW 10th Street, Suite 2000
       Plantation, FL 33324, USA




Equities, equity options, and commodity futures products and services are offered by TradeStation Securities, Inc. (Member     Rev 07272023
NYSE, FINRA, CME and SIPC). Cryptocurrency and digital asset products and services are offered by TradeStation Crypto, Inc.

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                                                                                                                                         Account Application

                                                                                                                                               REQUIRED
   Please complete all information carefully. You are representing to TradeStation that all information you provide is true,
   complete and accurate. Information provided under “Trading Experience” means of the Primary Account Holder.


                      To expedite your account opening process, if you have been working with a Representative,
                                                           please enter that person’s name below:


            Representative’s Name:............................................... Promotional Code:.................................................................



                          Please select the account type you would like to open within the next 90 days:
                           o Equities          Includes equity options, if selected below and approved for options
                                               trading.
                           o Futures           Includes options on futures, if selected below.
                           o Crypto            Must also have an Equities account. By checking, you are also applying
                                               for a new Equities account.




                                                                  For Futures accounts only
                                 What type of futures trading will you be doing with this account?
      If you do not make a selection below, your futures account will be coded for Futures Only, which means that you do not
      intend to trade options on futures but intend to trade only futures using the TradeStation Platform.

       o Futures Only                                                        o Futures Options
      (Trading through the TradeStation platform.)                             (Trading through the TradeStation FuturesPlus platform.)


                                                                            For IRAs only
                                                                U.S. citizens and U.S residents only:
    Please select your account preference: o Traditional IRA o Roth IRA o SEP IRA o Simple IRA o Beneficiary IRA

    For Futures IRAs only, please select your custodian: o Equity Trust o Midland IRA o Millennium Trust

                                                                  For Equities accounts only
                                            Would you like the ability to trade options with this account?
                                                              o Yes                   o No
                                             If yes, please provide the following additional information.
    Investment Objectives:
        o Income      o Growth                     o Speculation

    Please check one or more of the option strategies you may wish to employ:
     o 1. Covered call writing, Protective puts              o 4. Put writing (speculative), Cash-covered puts (cash accounts
     o 2. Put/call buys, Collars, Covered puts (speculative)      only)
     o 3. Put/call spreads (speculative)                     o 5. Uncovered call writing (this is a highly speculative activity)

    Options trading is not suitable for all investors. If you would like the ability to trade options through a TradeStation
    account, you should first read the disclosure document titled Characteristics and Risks of Standardized Options.


                       FO R INT E RNA L U SE O NL Y (A PPR OVA L OF E QUI TY OPTI ON S TR A D I N G)
    Date approved                                    R.R. Signature
                                                                                                                                           Approved option levels:
    Date approved                                    ROP Signature
                                                                                                                                           o1 o2 o3 o4 o5
    CID#                                             Account #


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                                                                                                                            REQUIRED
                                                  P ri m a ry A ccount Holder I nfor ma tion
    If you have moved within the past 2 years, please include a copy of a utility bill or your driver’s license with your current address.

     First Name (Legal)                           Middle                                        Last


     Date of Birth                                Citizenship                                   U.S. Social Security #


     Permanent Address (no P.O. Boxes)


     City                                State/Province                        Zip                                 Country


     Mailing Address      o Check here if same as Permanent Address


     City                                State/Province                        Zip                                 Country


     Primary/Daytime Phone Number                                              Home/Evening Phone Number


     E-mail Address


     o Please tick if you do wish to receive marketing communications. (E.U. Residents only.)




                                                            E m ployment I nfor ma tion
     Are you or your spouse employed by or associated with an NYSE, FINRA and/or NFA registered brokerage firm or an exchange?
     o No     o Yes		           If yes, please provide an authorization letter from the member firm with whom you or your spouse is associated.
                                Letter should be on corporate letterhead and signed by a Principal or Compliance Officer of the firm. If duplicate
                                confirms and statements are required, an e-mail address to which they are to be sent must be provided in the
                                letter.
     Are you a director, 10% shareholder or policy-making officer of a publicly-owned company?
     o No     o Yes If Yes, please list trading symbol(s):

     Employment Status          o Employed         o Retired       o Student         o Unemployed          Self-Employed          Homemaker


     Current Occupation                                                        Type of Business/Industry


     Name of Employer                                                          Employer’s Address


     City                     State/Province          Zip                      Country


     Source of income
     o Salary         o Inheritance                   o Insurance Proceeds           o Legal Settlement
     o Savings/Investments/Real Estate                o Gift                         o Other                                                 (specify)
     Source of Funds in Account (Check all that apply.)
     Please provide the source of assets that will be deposited or held in the account. If the source is a transfer from another firm, please indicate
     the source of funds that were used to purchase the assets.
     o Salary, wages, savings            o Working capital                   o Investment capital gains       o Family, relatives, inheritance
     o Sales of property/assets          o Business income                   o Other (specify):




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                                                                                                                                                         8
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                                                                                                                                           REQUIRED
                                           P ri m a ry A c c o u nt Holder I nfor mation (Continued)

                                                                  F ina ncia l I nfor ma tion
   Annual Net Income in USD:                       Total Net Assets in USD:                                      Liquid Net Assets in USD:
     If under $50,000        $100,000-$249,999   This includes all assets, minus all obligations, debts and    This includes cash and marketable securities, minus all
                                                   liabilities.                                                  obligations, debts and liabilities.
     specify                  $250,000-$999,999
     $50,000-$99,999         Over $1 million      If under $75,000                $200,000-$499,999          If under $75,000              $200,000-$499,999
                                                    specify                          $500,000-$999,999          specify                        $500,000-$999,999
                                                    $75,000-$99,999                 $1,000,000-$4,999,999      $75,000-$99,999               $1,000,000-
                                                    $100,000-$199,999               Over $5 million                                          $4,999,999
                                                                                                                 $100,000-$199,999             Over $5 million


                                                                    Tr ading E xper ience
           EQUITIES                                             OPTIONS                                         FUTURES
           No. of years trading                                 No. of years trading                            No. of years trading
           o None                                              o None                                         o None
           o If under 1, specify months                        o If under 1, specify months                   o If under 1, specify months
           o 1-5                                                o 1-5                                           o 1-5
           o Over 5                                             o Over 5                                        o Over 5




    If this will be a Joint Account, please select your account preference below, as either Joint Account with Right of Survivorship
    OR Joint Account as Tenants-In-Common, and complete the information requested below. You must choose one.
        o Joint Account with Right of Survivorship/by the Entirety (if married and recognized by applicable state law)
        o Joint Account as Tenants-in-Common


                                                     J o i n t A c count Holder I nfor mation

   If you have moved within the past 2 years, please include a copy of a utility bill or your driver’s license with your current address.


    First Name                                         Middle Name                                              Last Name

    U.S. Social Security #                             Date of Birth                                            Citizenship


    Permanent Address (No P.O. Boxes)

    City                      State/Province           Zip                               Country


    Mailing Address      o Check here if same as Permanent Address


    City                      State/Province           Zip                               Country


    Primary/Daytime Phone Number                                                         Home/Evening Phone Number

    E-mail Address




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                                                                                                                                    Account Application



                                           J o i n t A c c o u n t Holder I nfor ma tion (Continued)
                                            J o i n t A c c o u nt Holder E mployment I nfor mation

    Are you or your spouse employed by or associated with an NYSE, FINRA and/or NFA registered brokerage firm or an exchange?
    o No     o Yes			                  If yes, please provide an authorization letter from the member firm with whom you or your spouse is
                                       associated. Letter should be on corporate letterhead and signed by a Principal or Compliance Officer of
                                       the firm. If duplicate confirms and statements are required, an e-mail address to which they are to be
                                       sent must be provided in the letter.
    Are you a director, 10% shareholder or policy-making officer of a publicly-owned company?
    o No     o Yes If Yes, please list trading symbol(s):
    Employment Status            o Employed       o Retired             o Student              o
                                                                                               ■
                                                                                                 Unemployed        o Self-Employed               o Homemaker

    Current Occupation                                                                 Type of Business/Industry

    Name of Employer                                                                   Employer’s Address

    City                      State/Province          Zip                              Country

     Source of income
     o Salary         o Inheritance                   o Insurance Proceeds                    o Legal Settlement
     o Savings/Investments/Real Estate                o Gift                                  o Other                                                          (specify)
    Source of Funds in Account (Check all that apply.)
    Please provide the source of assets that will be deposited or held in the account. If the source is a transfer from another firm, please indicate
    the source of funds that were used to purchase the assets.
    o Salary, wages, savings            o Working capital                   o Investment capital gains       o Family, relatives, inheritance
    o Sales of property/assets          o Business income                   o Other (specify):


                                                              F i n ancial I nfor mation
   Annual Net Income in USD:                     Total Net Assets in USD:                                      Liquid Net Assets in USD:
     If under $50,000      $100,000-$249,999   This includes all assets, minus all obligations, debts and    This includes cash and marketable securities, minus all
                                                 liabilities.                                                  obligations, debts and liabilities.
     specify                $250,000-$999,999
     $50,000-$99,999       Over $1 million      If under $75,000                $200,000-$499,999           If under $75,000             $200,000-$499,999
                                                  specify                          $500,000-$999,999           specify                       $500,000-$999,999
                                                  $75,000-$99,999                 $1,000,000-$4,999,999       $75,000-$99,999              $1,000,000-
                                                  $100,000-$199,999               Over $5 million                                          $4,999,999
                                                                                                                $100,000-$199,999            Over $5 million




                                                                   Tr ading E xper ience
           EQUITIES                                            OPTIONS                                         FUTURES
           No. of years trading                                No. of years trading                            No. of years trading
           o None                                             o None                                         o None
           o If under 1, specify months                       o If under 1, specify months                   o If under 1, specify months
           o 1-5                                               o 1-5                                           o 1-5
           o Over 5                                            o Over 5                                        o Over 5




Equities, equity options, and commodity futures products and services are offered by TradeStation Securities, Inc. (Member                                       Rev 07272023
NYSE, FINRA, CME and SIPC). Cryptocurrency and digital asset products and services are offered by TradeStation Crypto, Inc.
                                                                                                                                                                           10
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                                                                   Trusted Contact Person
 1•TradeStation®
   This applies to account number                                                                                             and any and all other accounts
                                                            (complete this field if you have an existing brokerage account)
   that I may have or later open with TradeStation.

   TradeStation has asked, or you have requested, that you designate a trusted contact person age 18 or older. TradeStation
   is hereby authorized and permitted by you to contact your trusted contact person and disclose information about your
   account as described below. Please let us know if you have any questions about this form. This request and form applies to
   all of your TradeStation accounts, both with TradeStation Securities, Inc. and TradeStation Crypto, Inc.

   You hereby designate the person identified below as your trusted contact person. You understand that by providing contact
   information for a trusted contact person, age 18 or older, you are authorizing TradeStation to contact the aforementioned
   trusted contact person and disclose information about your account in order to address possible financial exploitation,
   to confirm the specifics of your current contact information, health status or the identity of any legal guardian, executor,
   trustee or holder of a power of attorney, or as otherwise permitted by FINRA Rule 2165 or any other applicable equivalent
   or similar rules of any applicable agency or regulatory organization.

   You understand that (1) TradeStation is not required to contact your trusted contact person; and (2) the completion of
   this form is optional and you may withdraw it at any time by notifying TradeStation in writing (use TradeStation address
   shown on account statement). If you would like to change your trusted contact person, you may do so by giving TradeStation
   a newly-signed Trusted Contact Person form with the box checked below to indicate that the new form supersedes the
   previous form.




                                                C ON T A CT P ERSON I NFORMA TI ON
    Name of Trusted Contact Person (First, Middle, and Last)                   Relationship (e.g. spouse, child, holder of my power of attorney,
                                                                               lawyer, accountant, etc.)

    Home Address



    City                                                State (U.S.)                                              Zip



    Country                                                                    Province



    Primary Phone Number                                                       E-mail Address




   o Check here if this contact authorization supersedes previous contact authorizations.

                                                                    Sig nature
    Signature of Client



    Print Name



    Date




Equities, equity options, and commodity futures products and services are offered by TradeStation Securities, Inc. (Member                                     1119
NYSE, FINRA, CME and SIPC). TradeStation International Ltd is an introducing broker authorized and regulated by the Financial
Conduct Authority in the UK. Cryptocurrency and digital asset products and services are offered by TradeStation Crypto, Inc.
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                                                             For Equity IRAs and Crypto IRAs

                                                                                              EQUITIES AND CRYPTO
Dear Applicant,

Thank you for your interest in equities trading at TradeStation Securities, Inc. and cryptocurrency trading at TradeStation Crypto,
Inc. through your self-directed Individual Retirement Account (“IRA”). Please be advised that TradeStation does not provide its own
custodial services for self-directed IRAs. As such, customers must open a self-directed IRA with an approved custodian. Please see
the list of below IRA companies TradeStation is able to do business with. By providing you this information, TradeStation is not
recommending or endorsing any of the companies listed below. This document is for information purposes only.


   Before opening a self-directed IRA, you should familiarize yourself with the investment and income tax risks, along with the costs
   associated with such trading. We also strongly encourage you to consult with your legal and/or tax advisor to discuss these risks.



Trust Companies: Please consult with the trust company regarding minimum deposits, costs and paperwork requirements as the
requirement may vary for each.



  Equity Trust Company – www.trustetc.com
  Client Services, Processing Team
  225 Burns Rd.
  Elyria, OH 44036
 44 0-323-54 91



   Midland IRA, Inc. – www.MidlandIRA.com
   135 South LaSalle Street
   Suite 4000
   Chicago, IL 60603



If you open a TradeStation Securities Equities IRA and TradeStation Crypto IRA, so that you can withdraw cash from your
TradeStation Securities Equities account to purchase Crypto in your TradeStation Crypto account, and deposit in your TradeStation
Securities Equities account cash proceeds you receive from sales of Crypto in your TradeStation Crypto account, you acknowledge
and agree that your TradeStation Crypto account will be linked to your TradeStation Securities Account. For linked IRAs, the IRA
custodian does not consider withdrawals from the TradeStation Securities IRA Equities account to purchase Crypto in your
TradeStation Crypto IRA account to be distributions, nor does the IRA custodian consider the deposit of cash proceeds in your
TradeStation Securities IRA Equities account that you receive from sales of Crypto in your TradeStation Crypto IRA account to be
contributions for tax reporting purposes.



   You understand and agree that the IRA Custodian agreement you agree to, accept, and acknowledge to open your TradeStation Securities
   Equities IRA applies to your TradeStation Crypto IRA. You further agree that the beneficiary information you provide for your
   TradeStation Securities Equities IRA applies to your TradeStation Crypto IRA.




Equities, equity options, and commodity futures products and services are offered by TradeStation Securities, Inc. (Member    Rev 07272023
NYSE, FINRA, CME and SIPC). Cryptocurrency and digital asset products and services are offered by TradeStation Crypto, Inc.
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                                                                             For Futures IRAs

                                                                                                                         FUTURES
Dear Applicant,

Thank you for your interest in futures trading at TradeStation Securities, Inc. (“TradeStation”) through your self-directed IRA.
Please be advised that TradeStation does not provide its own custodial services for self-directed IRAs that invest in alternative
assets such as futures. As such, customers who wish to trade such alternative investments at TradeStation, must open a self-
directed IRA with an approved custodian that accepts alternative investments.

TradeStation currently accepts alternative investment self-directed IRAs from a limited number of custodians. Please see the list
below of IRA companies TradeStation is able to do business with. By providing you with this information, TradeStation is not
recommending or endorsing any of the companies listed below. This document is for information purposes only. If you do not see
your trust company of choice listed below, please contact one of the trust companies below to establish an account.


   Before you choose to open an alternative investment self-directed IRA, you should familiarize yourself with the investment and income
   tax risks, along with the costs associated with such trading. We also strongly encourage you to consult with your legal and/or tax
   advisor to discuss these risks.



Once you have initiated the account opening process with your custodian, please complete the TradeStation Futures IRA application
and return it to:

   TradeStation
   Attn: Account Services
   8050 SW 10th Street, Suite 2000
   Plantation, FL 33324

Upon receipt of your application, TradeStation will review your account application and, if approved, your application will be
forwarded directly to your custodian for completion of the account opening process.


   Final approval is dependent upon your custodian and TradeStation (FCM and executing agent) accepting the account. TradeStation cannot
   be held responsible for any delay associated with establishing your custodial IRA account.



Trust Companies: Please consult with the trust company regarding minimum deposits, costs and paperwork requirements as the
requirements may vary for each.



  Equity Trust Company – www.trustetc.com
  Client Services, Processing Team
  225 Burns Rd.
  Elyria, OH 44036
 44 0-323-54 91



   Midland IRA, Inc. – www.MidlandIRA.com
   135 South LaSalle Street
   Suite 4000
   Chicago, IL 60603



   Millennium Trust Company IRA Accounts – www.mtrustcompany.com
   820 Jorie Blvd., Suite 420
   Oakbrook, IL 60523
   630-368-5600 or 800-258-7878




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                                                         TradeStation Account Application -
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                                                IIIIIIII  Individual, Joint and IRA Accounts
                                                   *108735*
                                                                                                                    REQUIRED

   Please carefully review all of the content in this package, including all of the information below and in each of the required
   agreements and other documents listed below (which each can be opened and read from the links below and are all
   easily accessible at www.tradestation.com through the link “Important Documents and Information”). PLEASE READ ALL
   AGREEMENTS AND DOCUMENTS CAREFULLY, including the ones listed below and on the website, which are legally binding
   on you to the same extent as if set forth fully in this package. If this is a joint account application, “you” means each joint account
   applicant, jointly and severally. Once you have reviewed and agreed with each document, but not before, you should sign below
   where indicated. We strongly recommend that you print a copy of each agreement and document for your records, as your
   acknowledgment and acceptance of these agreements and other documents are legally binding on you and create estoppel and
   affirmative defenses against you, and you agree that they do so no differently than if each one was individually signed by you
   in ink and delivered to TradeStation in person.

   You understand and agree that the respective customer account agreements which will apply to, and govern, your account
   relationships with TradeStation companies are as follows: (1) for an Equities account (including for equity/index options
   trading), the TradeStation Securities, Inc. Customer Account Agreement for Equities, together with the Master
   Securities Lending Agreement, (2) for a Futures and/or Futures Options account, the TradeStation Securities, Inc.
   Account Agreement for Futures, and (3) for a Crypto account, the TradeStation Crypto, Inc. Customer Account
   Agreement. Also, there are supplemental agreements, disclosures and other documents which will apply to one or more your
   accounts (as set forth below) which you must agree to, accept and acknowledge. Depending on which accounts you are applying
   for, the following apply and govern:

   TradeStation Securities, Inc. Accounts – Equities & Options (Agreements, Disclosures, Disclaimers and Assumption of
   Risk):

        TradeStation Securities, Inc. Customer Account Agreement for Equities
        Master Securities Lending Agreement
        TradeStation Technologies, Inc. Subscription Agreement
        User Agreement (Websites, Electronic Services, Social Media and Education)
        Investment and Trading Disclosures Booklet – Equities & Options
        Equity Trust Company IRA Agreement


   TradeStation Securities, Inc. Accounts – Futures & Futures Options (Agreements, Disclosures, Disclaimers and Assumption
   of Risk):

        TradeStation Securities, Inc. Customer Account Agreement for Futures
        TradeStation Technologies, Inc. Subscription Agreement
        User Agreement (Websites, Electronic Services, Social Media and Education)
        Investment and Trading Disclosures Booklet – Futures & Options on Futures
        Firm Specific Disclosure Statement - CFTC Rule 1.55

   TradeStation Crypto, Inc. Accounts (Agreements, Disclosures, Disclaimers and Assumption of Risk)
       TradeStation Crypto, Inc. Customer Account Agreement
       User Agreement (Websites, Electronic Services, Social Media and Education)
       Investment and Trading Disclosures Booklet – Cryptocurrencies
       U.S. States Where TradeStation Crypto is Licensed or Permitted to do Business and Related Notices and Information


   Residents of United Kingdom Only
        Terms of Business of TradeStation International Ltd



   The TradeStation Technologies, Inc. Subscription Agreement is a separate license agreement governing your use
   of TradeStation and third-party software and market data/content for Equities and Futures accounts, and the
   User Agreement (Websites, Electronic Services, Social Media and Education) applies to your use of those products and
   services offered by any of the TradeStation companies. We also direct you to review our Privacy Notice on the
   TradeStation website.




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                                                       TradeStation Account Application -
                                                        Individual, Joint and IRA Accounts

                                                                                                                 REQUIRED
    Please be aware that you acknowledge and agree that even if you are not applying to open a particular kind of account
    in this application, but already have such type of account (for example, you already have a Futures or Equities account, and
    are not applying for one in this application), the applicable agreements and documents listed above which pertain to
    those accounts will now apply to all of your existing accounts (for example, all of the agreements and documents listed
    above for Equities accounts, in their current form, now apply to all of your existing Equities accounts, and all of the
    agreements and documents above listed for Futures accounts now apply, in their current form, to all of your existing Futures
    accounts). You agree, intending to be legally bound, that any future action you take in any of such existing accounts
    constitutes irrevocable and unconditional acceptance by you of the current form of each of such agreements and
    documents (as same my later be amended or modified).

    This account application, together with all of the applicable agreements, acknowledgments, representations, warranties,
    notices, disclaimers and assumptions of risk contained in this application and any of such documents, including those
    listed above on this page (collectively, the “Agreement”), may from time to time be modified or amended, in whole or in
    part, by any reasonable method of notice to you, including posting on a TradeStation website, platform application you use,
    or other electronic communication, and you agree that any transaction or activity you initiate in any of your accounts
    after such modification or amendment constitutes your unconditional acceptance of any such modification or amendment.

    You represent and affirm that (1) you are a self-directed online investor or trader, and the sole reason for your
    account(s) is for you to invest in and trade, online, the market assets offered by such account(s), (2) you have the
    financial ability to withstand a total loss of all funds and other assets you deposit or maintain in any of your accounts, (3)
    all funds or assets deposited or later deposited in any of your accounts are and will be your personal funds or assets, and
    have not been and will not be solicited or sourced from any third party, and any withdrawals you make from any of your
    accounts will be transferred solely to an account in your name, under your control, and which only you own, and (4) no
    third party has or will have any direct or indirect ownership or other beneficial or financial interest in those funds or
    assets, or any asset or other property purchased with or through the use of such funds or assets, or in any of your accounts,
    in any manner.

    If you are opening an IRA, by signing this account application, you acknowledge and agree that: (a) no
    TradeStation company has provided, and no TradeStation company will provide, you with any investment, financial, tax
    or legal advice in connection with your decision to open your IRA, the type of IRA, your selection of the custodian with
    whom you open your IRA , or any investment or transaction in your IRA; (b) you have made or will make your own
    independent investigations and assessments with respect to your IRA, your selection of the type of account, the
    custodian with whom you open your IRA account and any investments and transactions in your IRA; (c) no TradeStation
    company has solicited, and no TradeStation company will solicit, you to acquire any investment or enter into any transaction
    in your IRA; (d) no TradeStation company is a fiduciary and no TradeStation company will make any recommendations to
    you regarding your IRA, the type of IRA you select, your selection of the custodian with whom you open your IRA
    account or any investment or transaction in your IRA; and (e) no TradeStation company is responsible for, and you will hold
    harmless each TradeStation company and its affiliates from, any and all tax consequences and other liability or losses that
    you incur in your IRA.




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NYSE, FINRA, CME and SIPC). Cryptocurrency and digital asset products and services are offered by TradeStation Crypto, Inc.
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                                                       TradeStation Account Application -
                                                        Individual, Joint and IRA Accounts

                                                                                                                 REQUIRED

   AGREEMENT TO ARBITRATION OF DISPUTES RELATING TO (1) EQUITIES ACCOUNTS AND (2) CRYPTO
   ACCOUNTS: (1) If you are applying for an Equities (Equities & Options) account, you acknowledge and affirm that you
   have read and agree to the pre-dispute arbitration provisions set forth in section 38 of the TradeStation Securities, Inc.
   Customer Account Agreement for Equities, and (2) if you are applying for a Crypto account, you acknowledge and affirm
   that you have read and agree to the pre-dispute arbitration provisions set forth in section 42 of the TradeStation Crypto,
   Inc. Customer Account Agreement.


   ELECTION OF ARBITRATION FOR DISPUTES RELATING TO FUTURES ACCOUNTS: If you are applying for a Futures or
   Futures Options account, you acknowledge and affirm that you have read the pre-dispute arbitration provisions set forth
   in section 38 of the TradeStation Securities, Inc. Account Agreement for Futures, and that you are making the following
   election (please type your initials - must choose one):



                     I (We) Accept the Arbitration Provision                        I (We) Do Not Accept the Arbitration Provision




    U.S. citizens and U.S. residents only — Tax Withholding Certification. Under penalty of perjury, you certify that: (1)
    the number provided by you in this account application is your correct taxpayer identification number; (2) you are not
    subject to backup withholding because (a) you are exempt from backup withholding, or (b) you have not been notified by
    the Internal Revenue Service (IRS) that you are subject to backup withholding as a result of a failure to report all interest
    or dividends, or (c) the IRS has notified you that you are no longer subject to backup withholding; (3) you are a U.S. person
    (which includes being a U.S. resident alien); and (4) the FATCA code(s) entered in this account application (if any) indicating
    that you are exempt from FATCA reporting is correct. You understand that if you are not a U.S. person, or have been
    notified by the IRS that you are currently subject to backup withholding because you have failed to report all interest and
    dividends on your tax return, you may not sign below and you must contact us to complete your application so that we can
    apply any required backup withholding. Note: The IRS does not require your consent to any provision of this document
    other than the certification required to avoid backup withholding. If this is a joint account, each joint account owner is
    separately making the certification.

    Note: If you are not a U.S. person, you will likely be required to complete and submit applicable Form W-8. You further
    represent and confirm that no TradeStation company solicited you to apply for, open or establish any kind of account
    with any TradeStation company.

    You confirm and affirm that all information, representations, warranties, affirmations, acknowledgements and agreements
    that you have provided or made in this application are voluntarily and knowingly given and made, are true, complete
    and accurate, and not misleading in any respect, and you will promptly notify us in writing if any of the information or any
    representation you have provided materially changes or ceases to be true, complete and accurate.

    By signing below, you hereby execute and deliver the Agreement, intending to be legally bound by it.


    Account Owner’s Signature                                                                           Date


    Print Name of Account Owner


    Joint Account Owner’s Signature (if a joint account)                                                Date


    Print Joint Account Owner’s Name (if a joint account)




Equities, equity options, and commodity futures products and services are offered by TradeStation Securities, Inc. (Member    Rev 07272023
NYSE, FINRA, CME and SIPC). Cryptocurrency and digital asset products and services are offered by TradeStation Crypto, Inc.
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   1•TradeSt tion                                                                                                             TradeStation Account Applicatio -
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     manner (except on'ly as you have clearly· disctosed in this app·lication).

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      election (please type 'y·ourinit'ia1·s- must choose o:ne):
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      the number p,rovirdedby you in this account application is your correct t.axpa,yer id,entificatio,n number; (2) you, are not
      subje-ct 'to backup withholding· because (a.)you are,exempt from backup· withho,ld'in,g, or (b1)yo u have not ibeen notified by                                               1



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      or ,di~iden,ds, or (c) the IRS has notified you that you a,re no long,er subject t01 ba,ckup withholding; (3,) you ,are ,a U ..S p,erson,
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      Note: If you a,re no't a U.S,. person, you will likely be required to compl:ete and su'bmit applicable f o,rms W-8,...You further
      repre:sent and confirm t·hat ,no TradeStation, company solicited you to apply for, open or establish any· kind of account
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